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                        Debt Calculation
Name: AlGiTs, Inc.
Master EFA Agreement #           2884
Schedule #         7072


3 Deferred Payments @:                                                       0

60 Payments @:                                                   $    1,958.18

Term                                                                        63

Payments Made                                                                6

Past Due Payments                                                            5

Accelerated Payments (regular)                                              52

Discount Rate                                                               4%

Past Due Payments                                                $    9,790.90

Accelerated Payments (regular payments), discounted to PV.       $ 93,346.62

Total Principal Due:                                             $ 103,137.52

Late Fees                                                        $    1,174.92
Site Inspection                                                  $      250.00
Insurance Fees                                                   $         -
Insufficent Fund Fees                                            $         -
Termination Fee                                                  $      379.00
Buyout option                                                    $         -
Sales Tax                                                        $         -

Total Non-Principal Damages                                      $    1,803.92

-Security Deposit Application                                    $ (1,958.18)
TOTAL DUE & OWING (not including attorney fees)                  $ 102,983.26

Date of default: 07/15/2020




                                                                     EXHIBIT 3 - Page 1 of 1
